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 5                           UNITED STATES DISTRICT COURT
 6                          SOUTHERN DISTRICT OF CALIFORNIA
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 8     JAMES MILLER, et al.,                          Case No.: 3:19-cv-1537-BEN-JLB
 9                    Plaintiffs,
                                                      JUDGMENT
10     v.
11     ROB BONTA, in his official capacity as
12     Attorney General of the State of
       California, et al.,
13
                      Defendants.
14
15          Following a bench trial and the Court’s Decision in this matter dated June 4, 2021,
16     IT IS HEREBY ORDERED AND ADJUDGED that:
17          1.    Judgment is entered in favor of Plaintiffs.
18          2.    California Penal Code §§ 30515(a)(1) through (8) (defining an “assault
19                weapon” by prohibited features), 30800 (deeming certain “assault weapons”
20                a public nuisance), 30915 (regulating “assault weapons” obtained by bequest
21                or inheritance), 30925 (restricting importation of “assault weapons” by new
22                residents), 30945 (restricting use of registered “assault weapons”), and
23                30950 (prohibiting possession of “assault weapons” by minors), and the
24                penalty provisions §§ 30600, 30605 and 30800 as applied to “assault
25                weapons” defined in Code §§ 30515(a)(1) through (8) are hereby declared
26                unconstitutional and shall be enjoined. Defendant Attorney General Rob
27                Bonta, and his officers, agents, servants, employees, and attorneys, and those
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 1                 persons in active concert or participation with him, and those duly sworn
 2                 state peace officers and federal law enforcement officers who gain
 3                 knowledge of this injunction order or know of the existence of this
 4                 injunction order, are enjoined from implementing or enforcing the California
 5                 Penal Code §§ 30515(a)(1) through (8) (defining an “assault weapon” by
 6                 prohibited features), 30800 (deeming those “assault weapons” a public
 7                 nuisance), 30915 (regulating those “assault weapons” obtained by bequest or
 8                 inheritance), 30925 (restricting importation of those “assault weapons” by
 9                 new residents), 30945 (restricting use of those registered “assault weapons”),
10                 and 30950 (prohibiting possession of those “assault weapons” by minors),
11                 and the penalty provisions §§ 30600, 30605 and 30800 as applied to “assault
12                 weapons” defined in Code §§ 30515(a)(1) through (8).
13           3.    Defendant Attorney General Rob Bonta shall provide forthwith, by personal
14                 service or otherwise, actual notice of this order to all law enforcement
15                 personnel who are responsible for implementing or enforcing the enjoined
16                 statute. Within 10 days, the government shall file a declaration establishing
17                 proof of such notice. Alternatively, the parties may file a stipulation.
18           IT IS SO ORDERED.
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       Date: June 4, 2021                           __________________________________
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                                                    HON. ROGER T. BENITEZ
21                                                  United States District Judge
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